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                       UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF VIRGINIA
                            Charlottesville Division


    ELIZABETH SINES, SETH WISPELWEY,
    MARISSA BLAIR, TYLER MAGILL, APRIL
    MUNIZ, HANNAH PEARCE, MARCUS
    MARTIN, NATALIE ROMERO, CHELSEA
    ALVARADO, and JOHN DOE,


                           Plaintiffs,
    v.


    JASON KESSLER, RICHARD SPENCER,
    CHRISTOPHER CANTWELL, JAMES
    ALEX FIELDS, JR., VANGUARD              Civil Action No. 3:17-cv-00072-NKM
    AMERICA, ANDREW ANGLIN,
    MOONBASE HOLDINGS, LLC, ROBERT
    “AZZMADOR” RAY, NATHAN DAMIGO,
    ELLIOT KLINE a/k/a/ ELI MOSLEY,
    IDENTITY EVROPA, MATTHEW
    HEIMBACH, MATTHEW PARROTT a/k/a
    DAVID MATTHEW PARROTT,
    TRADITIONALIST WORKER PARTY,
    MICHAEL HILL, MICHAEL TUBBS,
    LEAGUE OF THE SOUTH, JEFF SCHOEP,
    NATIONAL SOCIALIST MOVEMENT,
    NATIONALIST FRONT, AUGUSTUS SOL
    INVICTUS, FRATERNAL ORDER OF THE
    ALT-KNIGHTS, MICHAEL “ENOCH”
    PEINOVICH, LOYAL WHITE KNIGHTS OF
    THE KU KLUX KLAN, and EAST COAST
    KNIGHTS OF THE KU KLUX KLAN a/k/a
    EAST COAST KNIGHTS OF THE TRUE
    INVISIBLE EMPIRE,




                           Defendants.

   SUPPLEMENT TO PLAINTIFFS’ MOTION TO ENJOIN DEFENDANT CANTWELL
  FROM MAKING UNLAWFUL THREATS AGAINST PLAINTIFFS AND PLAINTIFFS’
                              COUNSEL
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         Plaintiffs write to supplement our pending Motion to Enjoin Defendant Cantwell from

  Making Unlawful Threats Against Plaintiffs and Plaintiffs’ Counsel (“Plaintiffs’ Motion”) with

  additional information in support of our request from a most unlikely source: Mr. Cantwell’s own

  attorneys. Last week, Mr. Cantwell’s attorneys, James Kolenich and Elmer Woodard, filed a

  Motion to Withdraw as Counsel for Mr. Cantwell, based in part on Mr. Cantwell’s “allegedly

  threatening internet communications directed at Ms. Kaplan, lead attorney for the Plaintiff’s [sic].”

  ECF No. 531 at 2. With reference to Mr. Cantwell’s conduct that is the subject of Plaintiffs’

  Motion, Mr. Kolenich and Mr. Woodard wrote that Mr. Cantwell “has engaged in conduct [Mr.

  Kolenich and Mr. Woodard] consider repugnant or imprudent” (id.) and noted that Mr. Cantwell

  had “arguably caused a fellow Attorney to have concerns for her safety.” Id. at FN 7. Mr.

  Cantwell’s attorneys candidly stated they “are at a loss as to how we would be able to argue Ms.

  Kaplan’s concerns and requests for relief as expressed to the Court are unreasonable.” Id. at FN 5.

         While Mr. Cantwell’s attorneys’ arguments are not a formal response to Plaintiffs’ Motion,

  we respectfully request that their views be considered along with Plaintiffs’ Motion.




  Date: July 31, 2019                                   Respectfully submitted,

                                                        /s/
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                                                        Counsel for Plaintiffs




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                                  CERTIFICATE OF SERVICE

         I hereby certify that on July 31, 2019, I filed the foregoing with the Clerk of Court
  through the CM/ECF system, which will send a notice of electronic filing to:

   Justin Saunders Gravatt                             Lisa M. Lorish
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   David L. Campbell                                   Western District of Virginia - Charlottesville
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   Jason Kessler, Nathan Damigo, Identity
   Europa, Inc. (Identity Evropa), and
   Christopher Cantwell


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                                                       Socialist Movement, and Nationalist Front




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          I further hereby certify that on July 31, 2019, I also served the following non-ECF
  participants, via U.S. mail, First Class and postage prepaid, addressed as follows:

   Loyal White Knights of the Ku Klux Klan            East Coast Knights of the Ku Klux Klan
   a/k/a: Loyal White Knights Church of               a/k/a East Coast Knights of the
   the Invisible Empire, Inc.                         True Invisible Empire
   c/o Chris and Amanda Barker                        26 South Pine St.
   2634 U.S. HWY 158 E                                Red Lion, PA 17356
   Yanceyville, NC 27379

   Andrew Anglin                                      Moonbase Holdings, LLC
   P.O. Box 208                                       c/o Andrew Anglin
   Worthington, OH 43085                              P.O. Box 208
                                                      Worthington, OH 43085

   Augustus Sol Invictus                              Fraternal Order of the Alt-Knights
   9823 4th Avenue                                    c/o Kyle Chapman
   Orlando, FL 32824                                  52 Lycett Circle
                                                      Daly City, CA 94015

          I further hereby certify that on July 31, 2019, I also served the following non-ECF
  participants, via electronic mail, as follows:

   Elliot Kline                                       Matthew Heimbach
   eli.f.mosley@gmail.com                             matthew.w.heimbach@gmail.com

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   c/o Dillon Hopper
   dillon_hopper@protonmail.com

                                                         /s/
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